Case 1:10-cr-00251-JRH-BKE Document 851 Filed 05/21/12 Page 1 of 2



                        IN THE UNITED STATES DISTRICT COURT

                    FOR THE SOUTHERN DISTRICT OF GEORGIA

                                   AUGUSTA DIVISION

DEVICCO TROY MOSS,

                Petitioner,

       kv                                         CV 111-205
                                                  (Formerly CR 110-251)
UNITED STATES OF AMERICA,

               Respondent.



                                         ORDER


        After a careful, de novo review of the file, the Court concurs with the Magistrate

Judge's Report and Recommendation, to which objections have been filed (doc. no. 8))

Accordingly, the Report and Recommendation of the Magistrate Judge is ADOPTED as the

opinion of the Court.

        Further, a federal prisoner must obtain a certificate of appealability ("COA") before

appealing the denial of his motion to vacate. This Court "must issue or deny a certificate of

appealability when it enters a final order adverse to the applicant." Rule 11(a) to the Rules

Governing Section 2255 Proceedings. This Court should grant a COA only if the prisoner

makes a "substantial showing of the denial of a constitutional right." 28 U.S.C. § 2253(c)(2).

For the reasons set forth in the Report and Recommendation, and in consideration of the

standards enunciated in Slack v. McDaniel, 529 U.S. 473, 482-84 (2000), Petitioner has


       'Petitioner requested, and was granted, an extension of time in which to object to the
Report and Recommendation. (Doc. nos. 6, 7.)
Case 1:10-cr-00251-JRH-BKE Document 851 Filed 05/21/12 Page 2 of 2



failed to make the requisite showing. Accordingly, a COA is DENIED in this case.'

Moreover, because there are no non-frivolous issues to raise on appeal, an appeal would not

be taken in good faith. Accordingly, Petitioner is not entitled to appeal informapauperis.

See 28 U.S.C. § 1915(a)(3).

        Upon the foregoing, Petitioner's motion brought pursuant to 28 U.S.C. § 2255 is

DENIED, this civil action is CLOSED, and a final judgment shall be ENTERED in favor

of Respondent.

        50 ORDERED thi,2/ day of May, 2012, at Augusta, Georgia.




                                       HONO 4 ABLE J. RADAL HALL
                                      JJNjD STATES DISTRICT JUDGE
                                       SOUTHERN DISTRICT OF GEORGIA




          '"If the court denies a certificate, a party may not appeal the denial but may seek a
 certificate from the court of appeals under Federal Rule of Appellate Procedure 22." Rule
 11(a) to the Rules Governing Section 2255 Proceedings.




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